          Case 1:20-cv-00491-DLF Document 10 Filed 08/13/20 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CAMPAIGN FOR                  )
ACCOUNTABILITY,               )
                              )
      Plaintiff,              )
                              )             Civil Action No. 20-00491 (DLF)
              v.              )
                              )
U.S. DEPARTMENT OF            )
HEALTH AND HUMAN              )
SERVICES,                     )
                              )
      Defendant.              )
_____________________________ )

                                   JOINT STATUS REPORT

       Defendant U.S. Department of Health and Human Services (“HHS”), and Plaintiff

Campaign for Accountability (collectively, “the Parties”), hereby provide the Court with the

following Joint Status Report (“JSR”):

       1. Plaintiff filed its Complaint on February 20, 2020 (ECF No. 1), pursuant to the Freedom

of Information Act (“FOIA”). HHS answered on April 27, 2020 (ECF No. 6).

       2. The Parties have conferred regarding the four FOIA requests at issue in this case:

       Request Nos. 1, 2, and 4: HHS has identified a total of 446 pages of potentially responsive

documents. On June 11, 2020, HHS released 270 pages in full, 60 pages in part, and withheld 2

pages as non-responsive. Simultaneously, HHS provided 114 of the 446 identified pages for pre-

disclosure notice to a third party. On July 16, 2020, HHS produced the 114 pages, releasing 93

pages in full, and 21 pages in part.

       Request 3:     This request seeks communications and other documents regarding the

implementation date of a final revised Title X rule and regarding the Health Resources & Services

Administration 340B Drug Pricing Program.        HHS processed five (5) pages of potentially
         Case 1:20-cv-00491-DLF Document 10 Filed 08/13/20 Page 2 of 3




responsive documents. On July 16, 2020, HHS informed Plaintiff that it is withholding all five (5)

pages as not responsive to the request.

       3. HHS reports that it has completed its search and production in response to the above

FOIA requests.

       4. The Parties propose to file an additional JSR no later than September 14, 2020.


Dated: August 13, 2020

Respectfully submitted,

                                                    By: /s/ Alice C.C. Huling
 MICHAEL R. SHERWIN                                 ALICE C.C. HULING
 Acting United States Attorney                      D.C. BAR NO. 1644296
                                                    CAMPAIGN FOR ACCOUNTABILITY
 DANIEL F. VAN HORN                                 611 Pennsylvania Ave. SE, #337
 D.C. Bar No. 924092                                Washington, D.C. 20003
 Chief, Civil Division                              T: (202) 780-5750
                                                    ahuling@campaignforaccountability.org

 By: /s/ Sean M. Tepe                               Counsel for Plaintiff
 SEAN M. TEPE
 D.C. BAR NO. 1001323
 Assistant United States Attorney
 555 Fourth Street, N.W.
 Washington, D.C. 20530
 Telephone: 202-252-2533
 sean.tepe@usdoj.gov

 Counsel for Defendant




                                                2
          Case 1:20-cv-00491-DLF Document 10 Filed 08/13/20 Page 3 of 3




                            UNITED STATES DISTRICT COURT
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CAMPAIGN FOR                  )
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                              )
U.S. DEPARTMENT OF            )
HEALTH AND HUMAN              )
SERVICES,                     )
                              )
      Defendant.              )
_____________________________ )


                                       [Proposed] ORDER

       Upon consideration of the parties’ Joint Status Report, it is hereby ORDERED that the

parties shall file by September 14, 2020, an additional joint status report advising the Court of the

status of this matter, including a recommendation for further proceedings.


       It is SO ORDERED this              day of                               , 2020.




                                              United States District Court Judge




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